        Case 2:18-cr-00022-CAS Document 72 Filed 05/23/18 Page 1 of 7 Page ID #:465




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          5
                Attorneys for Non-Parties
          6     Patricia L. Glaser and Kerry Garvis Wright
          7                           UNITED STATES DISTRICT COURT
          8                          CENTRAL DISTRICT OF CALIFORNIA
          9

         10      UNITED STATES OF AMERICA,                   CASE NO.: CR-18-00022-CAS

         11                        Plaintiff,                Hon. Christina A. Snyder


·--      12      V.                                          NON-PARTIES PATRICIA L.
                                                             GLASER AND KERRY GARVIS

~        13      BENJAMIN KOZIOL,                            WRIGHT'S NOTICE OF MOTION
                                                             AND MOTION TO QUASH
"-       14                        Defendant.                DEFENSE SUBPOENAS AND TO
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                                                             MANAGER'S MOTION TO
                                                             QUASH; DECLARATION OF
                                                             DAVIDZARMI

         17                                                  DATE:       May 23, 2018

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                  NON-PARTIES ' NOTICE OF MOTION AND MOTION TO QUASH DEFENSE SUBPOENAS AND TO JOIN
                                     ENTERTAINER AND MANAGER'S MOTION TO QUASH
      1494258
         Case 2:18-cr-00022-CAS Document 72 Filed 05/23/18 Page 2 of 7 Page ID #:466




                       PLEASE TAKE NOTICE THAT Non-Parties Patricia L. Glaser and Kerry
           2     Garvis Wright hereby move this Court, pursuant to Federal Rule of Criminal Procedure
           3     17(c)(2), for an order quashing the criminal subpoenas served by the defense
           4     commanding that they testify and produce documents to the Court by May 23, 2018.
           5           This motion is based upon the attached memorandum of points and authorities,
           6     the files and records in this case, and such further evidence and argument as the Court
           7     may permit.
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           9      DATED: May 23, 2018                   GLASER WEIL FINK HOWARD
                                                         A VCHEN & SHAPIRO LLP
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                                                            DAVID ZARMI
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                                                            Attorneys for Non-Parties
                                                            Patricia L. Glaser and Kerry Garvis Wright


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                  NON-PARTIES ' NOTICE OF MOTION TO QUASH DEFENSE SUBPOENAS AND TO JOIN ENTERTAINER
                                            AND MANAGER'S MOTION TO QUASH
       1494258
  Case 2:18-cr-00022-CAS Document 72 Filed 05/23/18 Page 3 of 7 Page ID #:467




          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NON-
    2                PARTIES' MOTION TO QUASH DEFENSE SUBPOENAS
    3           This motion concerns two defense subpoenas that were received on May 18,
    4     2018 by two of Manager's former attorneys, Patricia L. Glaser and Kerry Garvis
    5     Wright ("Non-Parties"), partners in the law firm of Glaser Weil Fink Howard Avchen
    6     & Shapiro LLP ("Glaser Weil"), requesting: "(1) Copies of all contractual agreements
    7     between Manager and Entertainer operative at any time between December 1, 2015
    8     and January 19, 2018; and (2) Copies of all retainer agreements between Manager and
    9     Entertainer and their counsel including Lynn A. Neils, Kerry Garvis Wright, J. Reid
   10     Hunter, Joseph Perry, Patricia L. Glaser, and Gary Stiffelman, in connection to
   11     matters involving Jordan Sweet and Benjamin Koziol."
   12           Counsel for Entertainer and Manager were similarly served with defense
   13     subpoenas and also have filed today a motion to quash those subpoenas.
   14     Additionally, their counsel has already submitted to this Court a copy of the relevant
   15     retainer agreement between Manager and Glaser Weil.
   16           As to item (1), Non-Parties do not have, and have never had, in their possession
   17     any responsive documents. As to item (2), Non-Parties hereby move to join the
   18     Entertainer's and Manager's motion to quash subpoenas, and assert each cited
   19     authority set forth in the Entertainer's and Manager's papers.
   20           Based on the foregoing, Non-Parties respectfully request that this Court quash
   21     the subpoenas served upon them.
   22     DATED: May 23, 2018                    GLASER WEIL FINK HOWARD
                                                  A VCHEN & SHAPIRO LLP
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                                                 By:     ~
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                                                       DAVIDZARMI
   26                                                  Attorneys for Non-Parties
                                                       Patricia L. Glaser and Kerry Garvis Wright
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           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NON-PARTIES' MOTION TO QUASH
              DEFENSE SUBPOENAS AND TO JOIN ENTERTAINER AND MANAGER'S MOTION TO QUASH
1494258
           Case 2:18-cr-00022-CAS Document 72 Filed 05/23/18 Page 4 of 7 Page ID #:468




                                           DECLARATION OF DAVID ZARMI
              2          I, DAVID ZARMI, declare and state as follows:
              3          1.      I am an attorney at law duly licensed to practice before all courts of the
              4    State of California and am an Associate of the law firm of Glaser Weil Fink Howard
              5    Avchen & Shapiro LLP, attorneys of record herein for Non-Parties Patricia L. Glaser
              6    and Kerry Garvis Wright. I make this declaration in support of Non-Parties' Motion
              7    to Quash Defense Subpoenas. The facts set forth herein are true of my own personal
              8    knowledge, and if called upon to testify thereto, I could and would competently do so
              9    under oath.
             10          2.      Non-Parties were served with two respective defense subpoenas on May
             II    18, 2018 directing them to appear to testify and produce the following categories of

-            12    documents by May 23, 2018: "( 1) Copies of all contractual agreements between

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                   Manager and Entertainer operative at any time between December 1, 2015 and
                   January 19, 2018; and (2) Copies of all retainer agreements between Manager and
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                   Entertainer and their counsel, including Lynn A. Neils, Kerry Garvis Wright, J. Reid
                   Hunter, Joseph Perry, Patricia Glaser, and Gary Stiffelman, in connection to matters
            17     involving Jordan Sweet and Benjamin Koziol" (the "First Request" and "Second
            18     Request," respectively).
            19           3.      Also on May 18, 2018, I am informed that Entertainer and Manager were
            20     served with defense subpoenas that requested, inter alia, the same documents as those
            21     requested from Non-Parties.
            22           4.      On May 23, 2018, I am informed that Entertainer and Manager filed a
            23     Motion to Quash or Modify Subpoenas and hand-delivered to this Court redacted
            24     copies of the retainer agreement between Glaser Weil and Manager.
            25           5.      Non-Parties do not have, and have never had, in their possession any
            26     documents responsive to the First Request, and the only document in their possession,
            27     custody, and control responsive to the Second Request is the retainer agreement
            28     between Glaser Weil and Manager, a true and correct copy of which I am informed
                                                           3
                      DECLARATION OF DA YID ZARMI IN SUPPORT OF NON-PARTIES' MOTION TO QUASH DEFENSE
                           SUBPOENAS AND TO JOIN ENTERTAINER AND MANAGER' S MOTION TO QUASH
         1494258
           Case 2:18-cr-00022-CAS Document 72 Filed 05/23/18 Page 5 of 7 Page ID #:469




              1    was delivered to this Court on May 23, 2018 by Entertainer and Manager's counsel
              2    via hand delivery.
              3          I declare under penalty of perjury pursuant to the laws of the State of California
              4    that the foregoing facts are true and correct.
              5          Executed on May 23, 2018 at Los Angeles, California.
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                      DECLARATION OF DAVID ZARMI IN SUPPORT OF NON-PARTIES ' MOTION TO QUASH DEFENSE
                           SUBPOENAS AND TO JOIN ENTERTAINER AND MANAGER' S MOTION TO QUASH
         1494258
          Case 2:18-cr-00022-CAS Document 72 Filed 05/23/18 Page 6 of 7 Page ID #:470




                                                 PROOF OF SERVICE
             2               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             3             I am employed in the County of Los Angeles, State of California; I am over the
                  a_._ge of 18 and not a party to the within action; my business address is 10250
             4    Constellation Boulevard, 19th Floor, Los Angeles, California 90067.
             5
                         On May 23 , 2018, I served the foregoing document(s) described as NON-
             6    PARTIES PATRICIA L. GLASER AND KERRY GARVIS WRIGHT'S
                  NOTICE OF MOTION AND MOTION TO QUASH DEFENSE SUBPOENAS;
             7
                  DECLARATION OF DAVID ZARMI on the interested parties to this action by
             8    delivering thereof in a sealed envelope addressed to each of said interested parties at
                  the following address( es):
             9                                    SEE ATTACHED LIST
            IO    D     (BY MAIL) I am readily familiar with the busines~ practice for collection and
                        grocessing of corresponaence for mailing with the United States Postal Service.
            11          This correspondence shall be deposited with the United States Postal Service

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                        this same day in the ordinary course of business at our Firm's office address in
                        Los Angeles, California. Service made pursuant to this paragraph, upon
                        motion of a party served, shall be presumed invalid if the postaf cancellation
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                        date of postage meter date on the envelo2e is more than one day after the date
                        of deposit for mailing contained in this affidavit.
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                        (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be
 tt1        15          electronically filed using the Court's Electronic Filing System which

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                        constitutes service of the filed document(s) on the individual(s) listed on the
                        attached mailing list.
                        (BY E-MAIL SERVICE) I caused such document to be delivered
                        electronically via e-mail to the e-mail address of the addressee(s) set forth in
            18          the attached service list.
           19     D     (BY OVERNIGHT DELIVERY) I served the foregoing document by FedEx,
                        an ex2ress service carrier which provides overnight aelivery as follows: I
           20           2lacea true copies of the foregoing document in sealed envefopes or packages
                        aesignated by the express service carrier1 addressed to each interestea party as
           21           set forth above, with fees for overnight oelivery paid or provided for.
           22     D     (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand
                        to the offices of the above named addressee(s).
           23
                  ~     (Federal) I declare that I am employed in the office of a member of the bar of
           24                    this court at whose direction the service was made. I declare under
                                 penalty of perjury that the above is true and correct.
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                        Executed on May 23 , 2018 at Los Angeles, California.                 ,


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                                                     PROOF OF SERVICE
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        Case 2:18-cr-00022-CAS Document 72 Filed 05/23/18 Page 7 of 7 Page ID #:471



                                                SERVICE LIST
                Christy O'Connor
          2     Email: Christy_ O'Connor@fd.org
                Waseem Salah1
                Email: Waseem Salahi@,fd.org
                Defuty Federal "Public O'efenders
          4     32 East Second Street
                Los Angeles, CA 90012
          5     Tel.: (213) 894-5669
                Fax: (213) 894-0081
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